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     Attorneys for Plaintiffs
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11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA

13    IAN SMITH and MITCH JESERICH, on                             Case No. 4:19-cv-05398-JST
      behalf of themselves and all others similarly
14    situated,                                                    PLAINTIFFS’ REQUEST FOR JUDICIAL
15                     Plaintiffs,                                 NOTICE IN SUPPORT OF MOTION FOR
                                                                   SUMMARY JUDGMENT
16    v.
17    CITY OF OAKLAND, a public entity,
18
19                    Defendant.

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     Smith et al. v. City of Oakland, Case No. 4:19-cv-05398-JST                                           1
     Plaintiffs’ Request for Judicial Notice
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               Case 4:19-cv-05398-JST Document 113 Filed 04/26/24 Page 2 of 4



 1           Plaintiffs respectfully request that the Court take judicial notice, pursuant to Federal Rule
 2   of Evidence 201, of the following documents submitted in support of Plaintiffs’ concurrently
 3   filed Motion for Summary Judgment in this case, which are attached as Exhibits to the
 4   Declaration of Sean Betouliere filed in support of Plaintiffs’ Motion for Summary Judgment:
 5           1. Exhibit A: Residential Rent Adjustment Program Ordinance (Oakland Municipal
                Code §§ 8.22.010-8.22.250), available at
 6              https://library.municode.com/ca/oakland/codes/code_of_ordinances?nodeId=TIT8HE
                SA_CH8.22REREADEV (visited and saved as PDF on March 27, 2024).
 7
             2. Exhibit C: Rent Adjustment Program Annual Report 2018-2019 and 2019-2020.
 8
             3. Exhibit D: Rent Adjustment Program Annual Report 2020-2021 and 2021-2022.
 9
             4. Exhibit E: June 2016 Performance Audit of the City of Oakland Rent Adjustment
10              Program.
11           5. Exhibit G: City of Oakland Webpage Re: Allowable Rent Increases Under Rent
                Control Program.
12
             6. Exhibit H: Costa Hawkins Rental Housing Act, available at
13              https://leginfo.legislature.ca.gov/faces/codes_displayText.xhtml?lawCode=CIV&divi
                sion=3.&title=5.&part=4.&chapter=2.7.&article= (visited and saved as PDF on
14              March 22, 2024).
15           7. Exhibit AA City of Oakland Ordinance 9980 (Original October 7, 1980 City Rent
                Control Ordinance).
16
             8. Exhibit BB: City of Oakland Ordinance 10402 (November 1, 1983 Amendment to
17              City Rent Control Ordinance).
18           9. Exhibit CC: City of Oakland Ordinance 11758 (December 13, 1994 Amendment to
                City Rent Control Ordinance).
19
             10. Exhibit FF: Oakland City Council July 5, 2016 Resolution Urging the State
20               Legislatures and Governor To Repeal Or Modernize the Costa Hawkins Rental
                 Housing Act.
21
             11. Exhibit GG: Oakland City Council March 21, 2017 Resolution Supporting Assembly
22               Bill 1506.
23           12. Exhibit HH: Excerpts from City of Oakland Housing Element, 2023-2031 – Racial
                 Equity Impact Analysis, available at https://cao-94612.s3.us-west-
24               2.amazonaws.com/documents/Housing-Element-REIA-1.6.23_Final.pdf (visited and
                 saved as PDF on March 27, 2024).
25
            Each of the above documents is subject to judicial notice under Federal Rule of Evidence
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     201 as they contain information whose accuracy can readily be determined from a source not
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     reasonably subject to being questioned. See Fed. R. Evid. 201(b). Courts routinely take judicial
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     Smith, et al. v. City of Oakland, Case No. 4: 19-cv-05398-JST                                       2
     Plaintiffs’ Request for Judicial Notice
               Case 4:19-cv-05398-JST Document 113 Filed 04/26/24 Page 3 of 4



 1 notice of public records, particularly those from governmental and administrative agencies. See
 2 United States v. Ritchie, 342 F.3d 903, 909 (9th Cir. 2003) (“Courts may take judicial notice of
 3 some public records, including the records and reports of administrative bodies.”) (internal
 4 quotations omitted). “Municipal ordinances are proper subjects for judicial notice.” Tollis, Inc. v.
 5 Cnty. of San Diego, 505 F.3d 935, 938 n.1 (9th Cir. 2007) (citation omitted). Public records
 6 reflecting official actions, reports, government memoranda and reports are all properly judicially
 7 noticed. See Bd. of Trs. of Leland Stanford Junior Univ. v. Cnty. of Santa Clara, No. 18-CV-
 8 07650-BLF, 2019 WL 5087593, at *4 (N.D. Cal. Oct. 10, 2019) (collecting cases).
 9 A City’s Housing Element or excerpts thereof are also properly judicially noticed. Ohio House,
10 LLC v. City of Costa Mesa, No. 819CV01710JVSGJS, 2022 WL 18284406, at *3 (C.D. Cal.
11 Nov. 16, 2022) (taking judicial notice of excerpts of Costa Mesa’s Housing Element Update).
12 Judicial notice is properly taken of official information posted on a government website, where
13 the accuracy of the information is not in dispute. Ariz. Libertarian Party v. Reagan, 798 F.3d
14 723, 727 n.3 (9th Cir. 2015). The Oakland City Council ordinances, resolutions, reports, Housing
15 Element excerpts, official documents, and webpages here are all public and factual records
16 capable of ready determination from reliable, official sources and are thus appropriate for
17 judicial notice. See Jacques v. Hyatt Corp., 2012 WL 3010969, *1 (N.D. Cal. July 23, 2012)
18 (“This order takes judicial notice of the California Secretary of State ‘Business Entity Detail’ for
19 Hyatt Corporation, as the contents of this document[ ] are not subject to reasonable dispute in
20 that, as a government website, it is capable of accurate and ready determination.”).
21           All of these documents are subject to judicial notice and contain facts relevant and

22 material to Plaintiffs’ claims as outlined in Plaintiffs’ Motion for Summary Judgment. The Court
23 should take judicial notice of the listed exhibits pursuant to Federal Rule of Evidence 201.
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     Smith et al. v. City of Oakland, Case No. 4:19-cv-05398-JST                                      3
     Plaintiffs’ Request for Judicial Notice

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 1 Respectfully Submitted,
 2    Dated: April 26, 2024                                  DISABILITY RIGHTS ADVOCATES

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 4                                                           By: /s/ Thomas Zito
                                                                Thomas Zito
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 6                                                           PUBLIC INTEREST LAW PROJECT
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 8                                                           By: /s/ Michael Rawson
                                                                Michael Rawson
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                                                             Counsel for Plaintiffs
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     Smith et al. v. City of Oakland, Case No. 4:19-cv-05398-JST                           4
     Plaintiffs’ Request for Judicial Notice

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